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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

KIMIESHA HILL, et al.,                   )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )      Case No. CIV-21-97-PRW
                                         )
TOWN OF VALLEY BROOK, et al.,            )
                                         )
      Defendants.                        )

                                ORDER OF RECUSAL

      Pursuant to 28 U.S.C. § 455, I recuse as the judge to whom this case is assigned.

The Clerk of the Court is directed to return this case to the regular procedure for random

selection so that a successor judge may be determined.

      IT IS SO ORDERED this 21st day of April, 2022.
